                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:10-00258
                                                )           JUDGE CAMPBELL
MIGUEL PADILLA                                  )


                                            ORDER

       On September 17, 2012, the jury found the Defendant guilty of Count One but was

unable to reach a verdict on Count Two, and the Court declared a mistrial on Count Two only

pursuant to the Defendant’s motion. The case is rescheduled for a jury trial on Count Two only

on November 13, 2012, at 9:00 a.m. 18 U.S.C. § 3161(e). A pretrial conference is scheduled for

November 8, 2012, at noon.

       All previous rulings of the Court regarding trial apply to the retrial of Count Two, absent

further order of the Court. Any new motions in limine or jury instructions shall be filed by

November 1, 2012.

       It is so ORDERED.


                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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